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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

PAMELA BUTLER, et al.,                            )
                                                  )
                   Plaintiffs,                    ) No. 4:18-cv-01701-AGF
       v.                                         ) Lead Case
                                                  )
MALLINCKRODT, INC., et al.                        )
                                                  )
                   Defendants.                    )

   DEFENDANT MALLINCKRODT LLC’S MOTION FOR SUMMARY JUDGMENT

       Defendant Mallinckrodt, LLC (“Mallinckrodt”), pursuant to Fed. R. Civ. P. 56 and

E.D.Mo. L.R. 4.01(A) files this Motion for Summary Judgment and respectfully requests the

Court grant summary judgment in favor Mallinckrodt and against Plaintiffs on the single count

they assert against Mallinckrodt—the “public liability action” under the Price-Anderson Act (the

“PAA”).

       To prevail on a PAA claim, a plaintiff must establish that: (1) the defendant breached the

levels permitted by the federal regulations in effect at the time of the conduct (i.e., a breach of

the federal standard of care); (2) the plaintiff was exposed to this radiation; (3) the plaintiff has

injuries; and (4) radiation was the cause of plaintiff’s injuries. As part of element two, exposure,

plaintiffs must show “they have been exposed to a greater extent than anyone else, i.e., that their

exposure levels exceed the normal background level.” Id.

       Plaintiffs have not, and cannot, meet their burden to establish that (1) Mallinckrodt

breached any applicable federal regulations; (2) Plaintiffs were exposed to radiation, nor in an

amount greater than anyone else; or (4) radiation from Mallinckrodt’s operations caused their

respective diseases. Summary judgment is proper.


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       In support of its Motion, Mallinckrodt incorporates its Memorandum in Support of Its

Motion for Summary Judgment and its Statement of Uncontroverted Material Facts filed

contemporaneously with this Motion and incorporated herein by reference.

       WHEREFORE, for the foregoing reasons, Mallinckrodt moves the Court to enter

summary judgment in favor of Mallinckrodt.

Dated: May 6, 2022                                /s/ David R. Erickson
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 6th day of May, 2022, I served the above to the following

counsel of record via the Court’s electronic filing system.

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